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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

                                     :
PATRICIA GOMEZ,                      :
                                     :
     Plaintiff,                      :
                                     :
V.                                   :   CASE NO. 3:04-CV-2177 (RNC)
                                     :
                                     :
LAIDLAW TRANSIT, INC.,               :
                                     :
     Defendant.                      :


                              RULING AND ORDER

     Plaintiff brings this action against her former employer

alleging violations of the Americans with Disabilities Act (ADA),

42 U.S.C. § 12101 et seq., and the Connecticut Fair Employment

Practices Act (CFEPA), Conn. Gen. Stat. § 46a-60.             She also

alleges a common law claim of negligent misrepresentation.

Defendant has moved for summary judgment on all the claims.                  The

CFEPA claim survives the motion for summary judgment but the

other claims do not.     Accordingly, the motion is granted in part

and denied in part.

I.   Facts

     Viewing the summary judgment record in a manner most

favorable to the plaintiff, a reasonable jury could find the

following facts.    In 1996, plaintiff was promoted to branch

manager at defendant’s New London branch.          (Def.’s L. R. 56(a)1

Statement ¶ 2)    Her performance in this position was acceptable.

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(Doc. #38 Ex. 1 at 165)      Until 2002, she performed her duties

from a vehicle and an office in Groton.       (Doc. #39 Ex. 4 at 13)

In the spring of 2002, she was given an office at the New London

High School.   (Def.’s L. R. 56(a)1 Statement ¶ 3)          The office

was dirty, unheated, unventilated and moldy.         (Def.’s L. R.

56(a)1 Statement ¶ 6)

     Plaintiff had no apparent breathing problems at the time she

was given the office at the High School, but she had been

diagnosed with asthma and mold allergies as a young child. (Doc.

#34 Ex. C at 88, Ex. D at 17)      After moving into the office,           she

developed headaches, urinary tract infections, breathing

problems, pneumonia, bronchial infections, and rashes, and also

lost weight.   (Def.’s L. R. 56(a)1 Statement ¶ 5)          In early

December 2002, she visited an emergency room because of breathing

problems.   (Doc. #39 Ex. 4 at 38-39)      On December 10, she was

examined by an occupational health doctor, Dr. Deshpande, who

concluded that her respiratory condition was caused by exposure

to mold, mildew, fumes, and vapors at work.         (Doc. #38 Ex. 9)1

He advised her that she could return to work in a week if the

office were cleaned and properly heated and ventilated.            (Doc.

#39 Ex. 13 ¶ 9)   Plaintiff filed a complaint with the


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        Defendant has moved in limine to preclude Dr. Deshpande
from testifying at trial. (See Doc. #27.) It is unclear whether
defendant intended to move to strike his testimony in connection
with the present motion. If so, I note that his testimony is not
material to my ruling.

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Occupational Safety and Health Administration on December 9.

(See Doc. #38 Ex. 8)

      On January 6, 2003, Dr. Deshpande cleared plaintiff to

return to work.     (Def.’s L. R. 56(a)1 Statement ¶ 8)            At that

time, plaintiff “was feeling really good.”           She had regained

weight, was not using inhalers, and her headaches had stopped.

(Doc. #34 Ex. D at 24)         She returned to work on January 10. (Doc.

#39 Ex. 4 at 191-92)      Over the next ten days, her breathing

problems and sinus infection returned, she had a seizure, and the

right side of her face went numb.          (Doc. #39 Ex. 4 at 47)

      Following plaintiff’s return to the office, her supervisor,

Barbara Brigham, behaved differently toward her.               Brigham stood

over her while she worked, would not allow her to leave,

criticized her work, and left her a large stack of papers to work

on.   (Doc. #39 Ex. 4 at 212)       Brigham was also “snippy” and said

she was “sick and tired” of plaintiff being sick.              (Doc. #39 Ex.

4 at 214, 220)     In late January 2003, Brigham delayed the payment

of plaintiff’s salary by over a week.          (Doc. #39 Ex. 4 at 218)

      Plaintiff stopped working on January 21, 2003.              (Doc. #39

Ex. 4 at 49.)     Another doctor, Dr. Radin, cleared her to work,

but not in the office at the High School or anywhere else where

she would be exposed to the same irritants.            (Doc. #39 Ex. 4 at

50-51)    Plaintiff asked defendant to relocate her to another

office or to a trailer.        (Doc. #39 Ex. 4 at 131-32, 197)


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Defendant looked for alternative office sites within the High

School.     (Doc. #38 Ex. 7 at 134-38.)       In April 2003, branch

manager positions opened up in East Lyme and Waterford, but those

positions were not offered to plaintiff.           (Doc. #38 Ex. 7 at 30,

36.)    Plaintiff applied for another opening in East Lyme in 2004

or 2005, but the position was not open when her application was

received.     (Doc. #38 Ex. 3 at 221-23; Ex. 7 at 122)

       Plaintiff never resigned, and defendant never terminated her

employment.     (See Doc. #39 Ex. 4 at 188)        As of January 27, 2004,

defendant still considered her an employee.            (Doc. #39 Ex. 2 ¶ 2)

In the months preceding that date, defendant was still

considering whether it could find a new office for plaintiff at

the High School.      (Doc. #38 Ex. 12 at 73)       Plaintiff has been

employed full time as a manager for a pest extermination company

since 2004.     (Def.’s L. R. 56(a)1 Statement ¶ 26)

       At a deposition related to a workers’ compensation claim in

May 2003, plaintiff testified that she was “fully recovered from

the problems” she suffered in the New London High School office.

(Doc. #34 Ex. C at 117)         She testified that her breathing

problems subsided about a week and a half after she left the

office and finished a course of antibiotics.            (Doc. #34 Ex. C at

118)    On November 17, 2003, she testified that she felt

“wonderful,” explaining that she had not been on antibiotics or

breathing treatments, had regained weight, had stopped having


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headaches, and had not seen a doctor since leaving the office.

(Doc. #34 Ex. D at 42.)       In February 2004, she stated, “I have

not had any seizures, respiratory problems or been on any

inhalers or antibiotics, and I have not been to the ER for these

problems.”    (Doc. #34 Ex. F ¶ 15)

     On November 19, 2003, plaintiff was examined by Dr. Gerardi

in connection with her application for workers’ compensation

benefits.    (Doc. #39 Ex. 3 at 6)       At that time, her respiratory

status “was pretty good” and “[s]he was feeling well.”              (Doc. #39

Ex. 3 at 16)    Dr. Garardi diagnosed plaintiff with bronchial

asthma and allergies, which could trigger respiratory problems.

(Doc. #39 Ex. 3 at 17)       He also concluded that she had a ten

percent impairment of both lungs and should have been using

inhalers.    (Doc. #39 Ex. 3 at 22-23)      He recommended follow-up

care with an internist or pulmonologist.          (Doc. #39 Ex. 3 at 23)

     On March 30, 2004, Dr. Santilli, an allergist, examined

plaintiff.    (Doc. #39 Ex. 11 ¶ 2)      He found her symptoms

consistent with allergic rhinitis, chronic sinusitis, asthma and

mold exposure.    (Doc. #39 Ex. 11 ¶ 4)       He also found her to be

allergic to a wide variety of foods and irritants.             (Doc. #39 Ex.

11 ¶ 4) Subsequent evaluations revealed that her condition was

not improving with medication.       (Doc. #39 Ex. 11 ¶ 6)         In an

affidavit, he characterized plaintiff as “sensitive to the

slightest exposures, including mold, which could delay her


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recovery and even trigger more serious symptoms.”              (Doc. #39 Ex.

11 ¶ 13)

      Plaintiff filed charges of disability discrimination and

retaliation with the Connecticut Commission on Human Rights and

Opportunities and the Equal Employment Opportunity Commission on

November 12, 2003.     She filed this action on December 27, 2004.

II.    Discussion

      Summary judgment may be granted only when "there is no

genuine issue as to any material fact" and "the moving party is

entitled to a judgment as a matter of law."            Fed. R. Civ. P.

56(c).     The moving party has the burden of showing that no

genuine issue of material fact exists, and all reasonable

inferences must be drawn in favor of the nonmoving party.                 Sec.

Ins. Co. of Hartford v. Old Dominion Freight Line, Inc., 391 F.3d

77, 83 (2d Cir. 2004).         Once the moving party has demonstrated

the absence of a genuine issue of material fact, the nonmoving

party must go beyond the pleadings and point to evidence in the

record showing a genuine issue of material fact.               Celotex Corp.

v. Catrett, 477 U.S. 317, 324 (1986).

      A.     ADA Discrimination

      Plaintiff contends that defendant discriminated against her

because of her asthma by failing to make reasonable

accommodations, such as moving her to another office.                Failure to

accommodate a disability constitutes discrimination under the


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ADA.    See 42 U.S.C. § 12112(b)(5)(A); Stone v. City of Mount

Vernon, 118 F.3d 92, 96-97 (2d Cir. 1997).           Defendant contends

that plaintiff cannot prevail on this claim because the evidence

before the court fails to prove she was disabled within the

meaning of the ADA.

       The ADA defines a disability as “a physical or mental

impairment that substantially limits one or more of the major

life activities of [an] individual.”          42 U.S.C. § 12102(2)(A).

Application of this definition comprises three inquiries: first,

whether the plaintiff has a physical or mental impairment;

second, whether the life activity identified by the plaintiff is

a major life activity; and, third, whether the impairment

substantially limits the major life activity.            Colwell v. Suffolk

County Police Dep’t, 158 F.3d 635, 641 (2d Cir. 1998).               It is

undisputed that plaintiff suffers from asthma, which is a

physical impairment affecting the respiratory system.               See

Heilweil v. Mount Sinai Hosp., 32 F.3d 718, 723 (2d Cir. 1994).

Plaintiff claims that her asthma limits her ability to breathe,

which is a major life activity.        See Muller v. Costello, 187 F.3d

298, 312 (2d Cir. 1999) (citing 29 C.F.R. § 1630.2(i)).               The only

disputed issue is whether plaintiff’s asthma substantially limits

her ability to breathe.

       EEOC regulations, which are accorded deference in ADA cases

in this Circuit, see id. at 312 & n.5, define “substantially


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limits” to mean in relevant part “[s]ignificantly restricted as

to the condition, manner or duration under which an individual

can perform a particular major life activity as compared to the

condition, manner or duration under which the average person in

the general population can perform that same major life

activity.”    29 C.F.R. § 1630.2(j)(1)(ii).       The regulations also

encourage consideration of the following factors: (i) the nature

and severity of the impairment, (ii) its duration or expected

duration, and (iii) its permanent or long-term impact or expected

permanent or long-term impact.       § 1630.2(j)(2).         Whether an

impairment substantially limits a major life activity depends on

the facts of the particular case.        See Toyota Motor Mfg., Ky.,

Inc. v. Williams, 534 U.S. 184, 198 (2002).

     Applying these standards in Heilweil, the Court of Appeals

affirmed summary judgment for the employer because the asthmatic

plaintiff<s ability to breathe was limited only in certain

environments.    The plaintiff in that case had been able to

maintain her health, despite her asthma, until she was

transferred to her employer’s blood bank.         32 F.3d at 719.         After

the transfer, she experienced increased asthmatic symptoms,

including headaches, chest tightness and respiratory infections.

Id. at 720.    Once she stopped working in the blood bank, her

health “rapidly improved.”     Id.    Several months after leaving the

blood bank, she said she felt “fine.”        A year later, she


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testified that her asthma did not preclude her from exercising.

Id. at 723.   Given these facts, the Second Circuit rejected the

plaintiff<s contention that her asthma significantly limited her

day-to-day breathing.    Under Heilweil, therefore, an employee who

has trouble breathing in only one location – in plaintiff’s case,

the New London High School office – is not “substantially

limited” in her ability to breathe.        See also Muller, 187 F.3d at

314 (plaintiff felt “pretty good” outside of work when using

inhalers although he could have severe reactions to some

environmental pollutants); Murphy v. Bd. of Educ., 273 F. Supp.

2d 292, 317-18 (W.D.N.Y. 2003) (plaintiff suffered asthma attacks

in buildings with no fresh air source but could otherwise control

his symptoms), aff’d, 106 F. App’x 746 (2d Cir. 2004), cert.

denied, 544 U.S. 920 (2005); Nugent v. Rogosin Inst., 105 F.

Supp. 2d 106, 114 (E.D.N.Y. 2000) (“While plaintiff’s symptoms

may have also occasionally been triggered by exposure to a smoke-

filled room or a strong household cleanser, there is no evidence

that Nugent’s daily activities were significantly hindered due to

her asthma.”); Castro v. Local 1199, Nat’l Health & Human Servs.

Employees Union, 964 F. Supp. 719, 725 (S.D.N.Y. 1997)

(plaintiff’s asthma only restricted her ability to go outside in

extreme temperatures).

     Plaintiff attempts to distinguish these cases on the ground

that she now knows her condition to be more serious than she


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previously thought and now suffers respiratory problems in

various environments.    She explains that medications do not

completely control her asthma and that she is sensitive to

various triggers, such as perfume and mold.         (Doc. #39 Ex. 4 at

163-64.)   She relies on the findings of Drs. Gerardi and Sinelli,

discussed above.

     Heilweil is instructive on this point as well.            In that

case, following the plaintiff’s discharge from her employment,

her “medical condition deteriorated to a point requiring surgical

correction” and “she may have developed a condition known as

bronchiectasis, a change in the lining of the lung that renders

it more sensitive and susceptible to fluid infiltration and

infection.”   32 F.3d at 721.    However, the Second Circuit found

this evidence irrelevant to the question whether the plaintiff

was disabled at the time of the discharge.         Id. at 724-25.

     Similarly, in this case, plaintiff’s current symptoms and

diagnosis are not relevant to whether she was disabled at the

time of the alleged discrimination.2        On the record before the

court, the defendant had no reason to believe that plaintiff was

disabled at the pertinent time.      Accordingly, she cannot prevail




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        For this reason, plaintiff’s reliance on Albert v.
Smith’s Food & Drug Ctrs., Inc., 356 F.3d 1242 (10th Cir. 2004),
is unavailing. Even if plaintiff’s symptoms rise to the level of
the Albert plaintiff’s, which I need not decide, her current
symptoms are irrelevant to the question before the court.

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on her ADA discrimination claim.3

     B.   CFEPA Discrimination

     The CFEPA prohibits discrimination on the basis of “physical

disability.”4   Conn. Gen. Stat. § 46a-60(a).        Defendant contends

that plaintiff was not physically disabled within the meaning of

this statute.   Conn. Gen. Stat. § 46a-51(15) defines “physically

disabled” as “any individual who has any chronic physical

handicap, infirmity or impairment, whether congenital or

resulting from bodily injury, organic processes or changes or


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       Plaintiff’s reliance on Capobianco v. City of N.Y., 422
F.3d 47 (2d Cir. 2005), is unavailing. In Capobianco, the
plaintiff was diagnosed with congenital stationary night
blindness in 1999 and was discharged that same year. Id. at 51-
52. The district court disregarded plaintiff’s sworn assertions
that he could not drive at night in 1999 because it found those
assertions inconsistent with his testimony that he drove at night
in 1990. Id. at 58 n.6. The Second Circuit found a plausible
explanation for the inconsistency and concluded that the sworn
assertions should not have been disregarded. Id. This court is
not disregarding plaintiff’s testimony about her current symptoms
or diagnosis as inconsistent with her previous testimony; rather,
her current symptoms and after-the-fact reassessment of her
condition are not relevant to whether she was disabled at the
time of the alleged discrimination.
     4
        Because defendant does not challenge the “discrimination”
element of this claim, I will assume that the CFEPA imposes a
duty to accommodate and that failure to accommodate constitutes
discrimination. See Rieger v. Orlor, Inc., 427 F. Supp. 2d 99,
101 n.2 (D. Conn. 2006) (lower Connecticut courts have inferred
such a duty from the CFEPA, but the Connecticut Supreme Court has
not spoken on the issue); see also Adriani v. Comm’n on Human
Rights & Opportunities, 220 Conn. 307, 320 n.12 (1991) (“We do
not address whether provisions of General Statutes § 46a-60(a)(1)
forbidding an employer from discriminating on the basis of a
physical handicap are coextensive with the provisions of the
federal statute, especially the ‘reasonable accommodation’ duty
under that statute.”).

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from illness, including, but not limited to, epilepsy, deafness

or hearing impairment or reliance on a wheelchair or other

remedial appliance or device.”      This definition is significantly

broader than that of the ADA because it does not require that the

chronic impairment substantially limit a major life activity.

See Beason v. United Techs. Corp., 337 F.3d 271, 277-78 (2d Cir.

2003); see also Shaw v. Greenwich Anesthesiology Assocs., P.C.,

137 F. Supp. 2d 48, 65 (D. Conn. 2001).

     For plaintiff to be protected by the CFEPA, her asthma must

have been a chronic impairment.      The statute does not define

“chronic,” but courts have defined it as “marked by long duration

or frequent recurrence” or “always present or encountered.”

Curry v. Allan S. Goodman, Inc., No. CV020817767S, 2004 WL

3048590, at *4 (Conn. Super. Ct. Nov. 18, 2004), rev’d on other

grounds, 97 Conn. App. 147 (2006).         With reference to diseases,

the term "chronic" has been defined to mean "of long duration, or

characterized by slowly progressive symptoms; deepseated or

obstinate, or threatening a long continuance; distinguished from

acute.”   Shaw, 137 F. Supp. 2d at 65 (quoting Gilman Bros. v.

Conn. Comm’n on Human Rights & Opportunities, No. CV950536075,

1997 WL 275578, at *4 (Conn. Super. Ct. May 13, 1997)).

Plaintiff has produced evidence suggesting that her asthma was

marked by long duration.     It is undisputed that she has had

asthma since childhood, even though it was not substantially


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limiting her ability to breathe, and that she disclosed this

condition to her employer.     (See Doc. #39 Ex. 6)         She exhibited

severe symptoms of this condition during her tenure at the New

London High School office and continues to suffer from asthma

today.   A reasonable jury could find from this evidence that

plaintiff’s asthma is “chronic.”5

     Because a jury could find that plaintiff was disabled under

the CFEPA, I now turn to defendant’s argument that this claim is

barred by the statute of limitations.       A plaintiff must file a

charge under the CFEPA within 180 days of the alleged

discrimination.   Conn. Gen. Stat. § 46a-82(e).         Plaintiff filed

her CHRO charge on November 12, 2003; therefore, any claims

arising before May 16, 2003, including the claim that defendant

failed to transfer plaintiff to the open branch manager positions

in April 2003, are barred by the CFEPA’s statute of limitations.

Plaintiff has produced evidence showing that defendant considered

her an employee as recently as January 2004 and that it was

considering accommodations several months before that date.                 This



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        Under the CFEPA, plaintiff need not show that her chronic
asthma substantially restricted her ability to breathe. For this
reason, I am not persuaded by defendant’s argument that I must
consider the availability of corrective measures. The Supreme
Court has instructed courts to consider corrective measures in
evaluating the “substantially limits” element of the ADA
definition, which does not appear in the CFEPA definition. See
Sutton, 527 U.S. at 482-83. But see Shaw, 137 F. Supp. 2d at 65
n.22 (considering corrective measures to determine whether the
impairment was “chronic” under the CFEPA).

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evidence raises a question of fact as to whether defendant was

obliged to accommodate plaintiff’s disability after May 16, 2003.

Accordingly, summary judgment cannot be granted on the CFEPA

discrimination claim.

     C.   ADA Retaliation

     Retaliation claims under the ADA are analyzed pursuant to

the framework used in Title VII cases.        Lovejoy-Wilson v. Noco

Motor Fuel, Inc., 263 F.3d 208, 223 (2d Cir. 2001).             A

retaliation claim requires a showing that (1) the plaintiff

engaged in protected activity, (2) the employer knew of this

activity, (3) the employer took adverse action against the

plaintiff, and (4) a causal connection exists between the

protected activity and the adverse action.         Id.      Defendant only

contests the third prong of this test.6

     In a recent Title VII, the Supreme Court explained that for

purposes of a retaliation claim, an adverse action need not be an

action that affects the terms and conditions of employment, such



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        The court’s finding that plaintiff was not disabled under
the ADA does not preclude a finding that she engaged in protected
activity. “A plaintiff may prevail on a claim for retaliation
even when the underlying conduct complained of was not in fact
unlawful so long as he can establish that he possessed a good
faith, reasonable belief that the underlying challenged actions
of the employer violated [the] law.” Treglia v. Town of Manlius,
313 F.3d 713, 719 (2d Cir. 2002) (internal quotation marks
omitted) (alteration in original). Because defendant does not
contest this element, I presume that plaintiff had a good faith
basis for believing that she was entitled to reasonable
accommodation under the ADA.

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as hiring, firing, change in benefits, or reassignment.

Burlington N. & Santa Fe Ry. Co. v. White, No. 05-259, 2006 WL

1698953, at *7 (U.S. June 22, 2006).        Rather, an action is

“adverse” for this purpose if “a reasonable employee would have

found the challenged action materially adverse, ‘which in this

context means it well might have dissuaded a reasonable worker

from making or supporting a charge of discrimination.’”              Id. at

*10 (quoting Rochon v. Gonzales, 438 F.3d 1211, 1219 (D.C. Cir.

2006)).    Petty slights and minor annoyances do not satisfy this

standard.    Id.   Though this standard is an objective one, the

plaintiff’s particular circumstances may inform the materiality

inquiry.    See id. at *11.    Applying these standards, the Court

held that assignment to more arduous and less prestigious job

duties and a 37-day suspension without pay could reasonably be

found to be materially adverse.       Id. at *12-13.

     Because the retaliation provisions of the ADA and Title VII

contain similar language and have been interpreted uniformly,

the standard adopted by the Court in the White case applies here.

In support of her retaliation claim, plaintiff states that

Brigham stood over her while she worked and would not let her

leave, criticized her work, left her a stack of papers to work

on, told plaintiff she was sick and tired of her being sick, and

delayed payment of plaintiff’s salary by more than a week.              In

addition, she points to defendant’s failure to transfer her to


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open branch manager positions.

     These alleged actions are not materially adverse under the

White standard.   Plaintiff has not shown that Brigham’s

criticizing her work, standing over her, not letting her leave,

or leaving her a stack of papers, or her comment about being sick

and tired of plaintiff’s being sick, were anything more than

minor annoyances.    Similarly, plaintiff has offered no evidence

to show that the delay in payment was materially adverse.7

Finally, because defendant was under no duty to accommodate

plaintiff under the ADA, and because plaintiff has not shown that

she was entitled to transfer without a timely application,

defendant’s failure to transfer her was not materially adverse.

Accordingly, plaintiff has failed to establish an adverse

retaliatory action, an essential element of her ADA retaliation

claim.

     D.   CFEPA Retaliation

     CFEPA retaliation claims are analyzed in the same manner as

ADA retaliation claims.      Worster v. Carlson Wagon Lit Travel,

Inc., 353 F. Supp. 2d 257, 270 (D. Conn. 2005), aff’d, 169 F.

App’x 602 (2006).    For the reasons just stated, plaintiff’s



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        She states in her memorandum that this had a serious
impact on her because she was a single parent, she has presented
no evidence to that effect. Cf. id. at *13 (holding a 37-day
suspension without pay to be materially adverse because the
suspension was indefinite and the lack of income caused plaintiff
to be depressed).

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retaliation claim is insufficient as a matter of law.            Moreover,

any claim based on defendant’s failure to transfer her to open

branch manager positions in April 2003 is barred by the 180-day

statute of limitations, discussed above, and she cannot maintain

a failure-to-hire or failure-to-transfer claim arising from her

application in 2004 or 2005 because she has not controverted

defendant’s evidence that her application was untimely.             See

Petrosino v. Bell Atl., 385 F.3d 210, 227 (2d Cir. 2004)

(imposing an application requirement).        To the extent plaintiff

claims that defendant’s ongoing failure to accommodate her after

May 16, 2003 constituted retaliation, this claim is also

insufficient as a matter of law.        Requesting accommodation

inevitably carries the possibility that the employer will not

honor the request.    If the prospect that an employer might not

honor the request would deter a reasonable employee from even

making the request, reasonable employees would not request

accommodation.   For this reason, a failure to accommodate cannot

constitute retaliation for an employee’s request for

accommodation.   Accordingly, plaintiff’s claim for retaliation

under the CFEPA fails as well.

     E.   Negligent Misrepresentation

     Under the doctrine of negligent misrepresentation, a party

“who, in the course of [its] business, profession or employment .

. . [negligently] supplies false information for the guidance of


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others in their business transactions” is liable for pecuniary

losses caused by justifiable reliance on the misinformation.

Williams Ford, Inc. v. Hartford Courant Co., 232 Conn. 559, 575

(1995) (quoting Restatement (Second) of Torts § 552 (1977)).

Plaintiff claims that defendant negligently misrepresented that

her office was safe, thereby inducing her to return to work in

January 2003 and causing her further injury.         Any claim for

personal injury caused by defendant’s negligent misrepresentation

is barred by the exclusivity provision of Connecticut’s Workers’

Compensation Act, Conn. Gen. Stat. § 31-284(a).             See Claps v.

Moliterno Stone Sales, Inc., 819 F. Supp. 141, 152 (D. Conn.

1993).

     Plaintiff asserts that she is seeking to recover not for

personal injury but for “pecuniary losses” caused by the

negligent misrepresentation.     However, she has failed to identify

any pecuniary losses caused by the misrepresentation.             Her unpaid

leave of absence and reduction in salary were caused by

defendant’s failure to accommodate her respiratory problems, not

by the negligent misrepresentation; plaintiff would have suffered

those same losses even had defendant told her that the office was

unsafe.   Because plaintiff’s only plausible injury from any

negligent misrepresentation was personal injury, this claim is

barred by the Workers’ Compensation Act.




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III. Conclusion

     For the foregoing reasons, the motion for summary judgment

[Doc. #32] is hereby granted in part and denied in part.

Plaintiff’s ADA claims (Counts One-Three), her CFEPA retaliation

claim (Count Five), and her negligent misrepresentation claim

(Count Seven) are hereby dismissed.

     So ordered.

     Dated at Hartford, Connecticut this 29th day of September

2006.



                                                    /s/
                                             Robert N. Chatigny
                                        United States District Judge




                                   19
